 

Attorney or Party without Attorney: For Court Use Only

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Ref. No. or File No.:

 

Attorney for: Plaintiffs)

Insert name of Court, and Judicial District and Branch Court:
United States District Court - Southern District Of New York

Plaintiff{s): Maricela Donet, et al

Defendant: Flac & Anthem, LLC

 

 

 

 

AFFIDAVIT OF SERVICE Hearing Date: Time: Dept/Div. Case Number:
Summons and Complaint 23CV01105

 

 

 

 

 

1, At the time of service I was at least 18 years of age and not a party to this action.

2. Lserved copies of the Summons in a Civil Action; Civil Cover Sheet; Class Action Complaint for Violations of the Americans with
Disabilities Act of 1990 and New York City Human Rights Law.

3. a. Party served: Flag & Anthem, LLC
Lynanne Gares, Service of Process Intake Clerk, Caucasian, Female, 45-50, Brown

Hair, 5'6", 160-190 Ibs.

b. Person served:

4, Address where the party was served: Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
3. P served the party:
a. by personal service, I personally delivered the documents listed in item 2 to the party or person authorized to receive
process for the party (1) on: Mon., Feb. 20, 2023 (2) at: 11:48AM

4, Person Who Served Papers: Fee for Service:
a, Sean Snow
b. Class Action Research & Litigation
P © Box 740
Penryn, CA 95663
c. (916) 663-2562, FAX (916) 663-4955

8 1 declare under penalty of perjury under the laws of the State of DELAWARE and under the lawsof the United States Of
America thai the foregoing is true and correct.

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AN Se ee ate (Sean anon widow. 244434
